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EXHIBIT B
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STATE OF NEW YORK : COUNTY COURT
COUNTY OF ERIE : CRIMINAL TERM : PART 7

 

THE PEOPLE OF THE STATE OF NEW YORK
- vs - INDICTMENT # 02284-2019
SENTENCING
KATRINA NIGRO aka KATRINA GERACE,

Defendant.

 

25 Delaware Avenue
Buffaic, New York
August 19, 2021

Before:

HONORABLE KENNETH F. CASE
County Court Judge

Appearances:

JOHN J. FLYNN, ESQ.

Erie County District Attorney

BY: CHRISTOPHER M. McCARTHY, ESQ.
Assistant District Attorney
Appearing for the People.

BRENT SALEVSKY, ESQ.,
Appearing for the Defendant.

Present:

KATRINA NIGRO,
Defendant.

AMY L. HAYES
Senior Court Reporter

 
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MR. MCCARTHY: Your Honcr, the next matter
before you is Peopie of the State of New York versus
Katrina Gerace, also known as Katrina Nigro, file number
02284-2019.

Your Honor, Miss Gerace, AKA Nigro, appears
before you along with her attorney, Mr. Brent Salevsky.
And we're here for the purposes of sentencing.

Your Honor, you will recall that Miss Gerace
pled oefors you to one count of vehicular assault in the
second degree, under Penal Law 120.03 sub one, a class =
felony. As a result of that plea, a pre-sentence
investigation report has been created by the probation
department. I'm in receipt of that, and it is factually
accurate. Judge, we would also note the presence of the
victims in this matter, Michael and Lissa Jasinowski, and
their civil counsel, Mr. John Fromen, present in tne
courtroom.

Judge, they don't wish to speak, but they have
wrote an extensive letter to the Court, which we have
submitted, and the Court has acknowledged receipt of as
well, along with the defense ccunsel.

Your Honor, that being said, the pre-sentence
report asks for a period of incarceration. The People
agree with that. We know the victims are seeking a period

of incarceration. And we would respectfully make that

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request before sentencing. Thank you.

MS. SALEVSKY: Brent Salevsky on behalf of Miss
Nigro, Judge. Firstly, I have had an opportunity to
review the pre-sentence investigation. I don't find any
material errors or omissions, and we're prepared to move
forward today.

THE COURT: Thank you.

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MR. SALEVSKY: Thank you, Judge. And I ‘just ask
to be heard at the aporopriate time.

THE COURT: You certainly may be heard on behalf
of your client with regard to sentence.

MR. SALEVSKY: Thank you, Judge. Before you
today, Miss Nigro, she's thirty-nine years old. She
stands convicted of a felony DWI that occurred in October
of 2019. I think most importantly, Judge, Ms. Nigro
hasn't been sitting on her hands since October of 2019.
She, in fact, I would say, has done more to demonstrate
her sobriety to this Court than any defendant I've
represented before. She proactively sought out engagement
with Buffalo's DWI Court. And as Your Honor is surely
aware, that includes the installation of a SCRAM monitor,
a monitor to monitor alcohol in her system. In the normal
course she would wear that for a period of six months.
She's now been wearing that device for more than a year.

That's come at a cost to her of several thousand dollars

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as well, Judge. She completed substance abuse counseling
at ECMC. That was, of course, that took approximately two
years for her to complete. Recognizing the underlying
issues with her dependency, she also engaged in trauma
therapy at ECMC. She's continuing in that program to
date. As a part of DWI Court, Judge, she was required to
de regular check-ins there, toxicalogy tests, in addition
to that SCRAM monitor that I previously discussed.

Personally, she's taken this matter very
seriously. She's participated closely with me and the
defense on the case. She has repeatedly expressed remorss
towards the victims in this case. She understands the
serious nature of the case. In addition to the, I'll say
extensive treatment that she's completed while this case
has been pending, she's also been working to better
herself personally. She's completed numerous educational
courses through Cornell. She's completed an opiate
overdose course. She's living with her parents now, whom
support her and are helping her with her sobriety.

Judge, it's my position that the interest of
justice here would be served by a sentence to a term of
probation. I would ask that conditions include that she

continue in mental health counseling and any recommended

substance abuse treatment. I think that a sentence to

probation would act as a deterrent for her and would

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ultimately meet the end goals to the criminal justice
system, which would be rehabilitation.

THE COURT: Thank you. Ms. Nigro, you have a
right to speak on your own behalf before the Court imposes
sentence. Is there anything you'd like to say?

THE REFENDANT: Sure. I ama completely
different person after eighteen years in the aduit
industry, married to an organized leader of crime. I've
seen pretty much everything horrible you can fathom, from
different judges, politicians, and everything going on.
It's an extreme trauma. It started in 2013 with a
traumatic brain injury, being held hostage upstairs at
Pharaoh's. I have not been able to get help, including an
incident that he had with a girl who like manipulated me
and now has some random, trying to set charges that are
all lies. it has been ongoing of my mugshots posted on
his Facebook, all this stuff, when he's not legally
supposed to do it. And the FBI talked to me yesterday,
and they'll probably meet me in jail cr wherever I am to
discuss this further with Tripi. It really does, the
federal case completely affects this. And between Judge
Michalski in charge of it and in between my suicide, I
wasn't trying to drunk drive, I tried to kill myself. It
was a horrible accident. I never meant to kill myself and

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hit another car. I was driving to Zoar Valley. TI had no

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value, I had nothing, and I just couldn't do it anymore.
But I went already on my own into extensive trauma
therapy. I work with Brandy Gross, who's a federal
witness victims coordinator. And she found the right
counselors because I couldn't get them, because I can't
talk about the case, which is the trauma of it. It's been
absolutely hell. And I did try te kill myself three
times. And this is tne first time I'm stable. You know,
and like I realiy made a difference, I've been studying.
I got accepted into Yale. I would like to start it
September 15th, but I can push it off, obviously, until
the next semester. My family and everyone appreciates

everything I've done. And over the course since COVID,

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‘ve done a lot for neighbors and everything, volunteer
work, and got my life stabilized, financially and
everything.

THE COURT: Thank you. First, to Lissa and
Michael Jasinowski, thank you for being here. I can't
begin to imagine how difficult it is for you to be sitting
here. But more importantly, how difficult it was to live
through this, and you continue to iive through it. You
very easily could have been kilied in this accident, and
on your anniversary left your two young children without
parents. And I guess, Miss Nigro, when I look at your

record, I certainly am cognizant of, at least to some

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degree, as well as I could be --

THE DEFENDANT: Of course.

THE COURT: -- based on what's in the
pre-sentence report, of your circumstances. And from
reading the pre-sentence report, I have some idea of what

you have been through. But, in this case, I think your
blood came back at a point two zero. You were operating a
car. And these fine people over here didn't deserve what
they got.

THE DEFENDANT: I agree.

THE COURT: They're dealing with a lifetime
of --

THE DEFENDANT: I absolutely agree.

THE COURT: And with your record, coupled with
what. they have to deal with. And I do agree that you
voluntarily placed yourself in the DWI C.0.U.R.T.5S.
Program and have been wearing the ankle monitor. And cf
course, I'm taking all of that into consideration. And I
hope that what you have said here today is accurate. But
I think from everything I've heard now and read, the best
thing, at this point, is for me to impose the maximum
sentence I can while still placing you on probation so
that there are some concrete sanctions here, followed by
continued supervision. Because I think that's not oniy in

your best interest, I think it's in the best interest of

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the community to make sure that you continue to remain
sober.

And so for your conviction then for vehicular
assault in the second degree, a class E felony, it's
hereby the judgment of the Court that you are sentenced to
@ split sentence, which is a definite sentence of six
months in the County Correctional Facility, followed by
five years of probation. The conditions of your probation
are on a two-page document that our court officer is about
to hand you. You can review these with your attorney and
Sign the bottom of the second page to indicate that you
have reviewed and understand each of those conditions of
probation. Of course, you must install an ignition
interlock device on any vehicle owned or operated by you
for the duration of your probation. Although, I don't
think, looking at your record, you will ever have a New
York State driver's license again.

THE DEFENDANT: No, I have no desire for one.
After my accident, I was seriously injured. I have mesh
in my stomach and metal arms, and I barely started moving
out of my wheelchair only six months ago. In ail reality,
I almost feel that the six months isn't the most
beneficial because, as a leader in organized crime, those
people are comfortable for me. And I worked so hard to

get out of the strip clubs and out of the industry and

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pawn shops, and I'm just putting myself with them. And I
only started viewing their thoughts as wrong. I almost
would rather have the ankle monitor on for a whole other
year and stick with a harder treatment program, instead of
having my parents and everyone take care of me like I'ma
burden, instead of having taxpayers pay for this. I can
afford the monitor. I can afford transportation. I have
two other court cases going on in the federal court case,
which I do have to work and talk to the FBI and Tripi ona
pretty weekly basis. There's a lot going on with that
court case. But as me, it shows I'm an adult by taking on
responsibilities on my own instead of the Court, instead
of COs doing everything for you, instead of sitting around
reading magazines.

MR. SALEVSKY: I think what she's getting at,
Judge, is she believes that a term with, a continuing term
with the ankle bracelet would be more beneficial to her
than a term of incarceration. Would you reconsider,
Judge?

THE COURT: I won't. But I appreciate your
argument.

MR. SALEVSKY: Thank you, Your Honor.

THE COURT: Your license is also revoked for one
year. There's a mandatory surcharge of three hundred

dollars, a crime victim assistance fee of twenty-five

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dollars, and a DNA databank fee of fifty dollars, which
can be paid through prison funds or within sixty days of
your release.

MR. SALEVSKY: Thank you, Your Honor.

THE COURT: That's the sentence of the Court.
You have thirty days within which to appeal.

MR. SALEVSKY: Thank you, Your Honor.

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CERTIFICATION
Date: glou{ a4

I certify that the foregoing 10 pages are a correct

transcription of the proceedings recorded by me in this matter.

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enior Court Reporter.

 

  

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Senior Court Reporter

 
